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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND
                                             OFFICE OF THE CLERK



Catherine M. Stavlas, Clerk                                                                      Reply to Northern Division Address
David E. Ciambruschini, Chief Deputy


                                                                                         Case No:        1:24−cv−01924−SAG



                  Amended Standing Order 2021−13

 Please review the attached Amended Standing Order 2021−13
    concerning removal actions filed in this court which was
                   entered on April 24, 2024.




      Northern Division º 4415 U.S. Courthouse º 101 W. Lombard Street º Baltimore, Maryland 21201 º 410−962−2600
      Southern Division º 240 U.S. Courthouse º 6500 Cherrywood Lane º Greenbelt, Maryland 20770 º 301−344−0660
                                    Visit the U.S. District Court's Web Site at www.mdd.uscourts.gov
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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND



                                                 *
IN RE:                                           *
                                                 *
REMOVAL ACTIONS                                  *                 MISC. NO. 00−308
                                                 *
                                              *******

                           AMENDED STANDING ORDER 2021−13

     In order to expedite the review of removal actions filed in this Court, it is hereby
     ORDERED by the United States District Court for the District of Maryland that all parties
removing actions to this Court shall, if they have not already done so, file with the notice of
removal true and legible copies of all process, pleadings, documents, and orders which have been
served upon that party, along with a copy of the current state court docket sheet, as required by
Local Rule 103.5; and it is further
       ORDERED that, no later than fourteen (14) days after filing a removal action, the removing
party shall file and serve a statement under the case and caption that sets forth the following
information:

     1. The date(s) on which each defendant was served with a copy of the summons and
        complaint.

     2. In actions predicated on diversity jurisdiction, an indication of whether any defendants
        who have been served are citizens of Maryland, and, for any entity that is not a
        corporation, the citizenship of all members.

     3. If removal takes place more than thirty (30) days after any defendant was first served
        with a copy of the summons and complaint, the reasons why removal has taken place at
        this time and the date on which the defendant(s) was (were) first served with a paper
        identifying the basis for such removal.

     4. In actions removed to this Court predicated on diversity jurisdiction in which the action
        in state court was commenced more than one year before the date of removal, the reasons
        why this action should not be summarily remanded to state court.

     5. Identification of any defendant who was served in the state court action prior to the time
        of removal who did not formally join in the notice of removal and the reasons why such
        defendant did not join.

      IT IS FURTHER ORDERED that all defendants to the action who joined in the notice of
removal shall file such statement within the time period set forth herein, although the parties may
file a joint statement so long as such statement is approved by counsel for each party; and it is
further

     ORDERED that the Clerk is directed to issue a notice upon the filing of a new removal
action notifying the parties of the existence of this Order. Removing defendant(s) shall serve a
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copy of this Order on all other parties to the action who did not receive electronic notification of
the filing of the Clerk's notice no later than the time they file and serve a copy of the statement
required by this Order. Any party who learns at any time that any information provided in the
statement(s) filed pursuant to this Order is incorrect shall immediately notify the Court in writing
to said effect; and it is further


     ORDERED that within seven days from the date the notice of removal is filed with this
Court, the removing defendant(s) shall file a disclosure as described in Local Rule 103.3 (D.
Md.). All other parties shall file the disclosure within seven days from the date a copy of the
Clerk's notice is issued or this Order is served upon them.




Date: April 24, 2024                                              /s/
                                                   James K. Bredar, Chief Judge
                                                   United States District Court
